Case: 5:07-cr-00409-SO Doc #: 280 Filed: 09/08/08 1 of 2. PageID #: 1212




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 5:07 CR 409-12
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
HERMAN DENNIS,                                )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Kenneth S. McHargh, regarding the change of plea hearing of , which was

referred to the Magistrate Judge with the consent of the parties.

       On November 15, 2007 the government filed a forty-one count indictment, charging

Defendant, Herman Dennis, with Conspiracy to Possess and Distribute at least five kilograms or

more of cocaine in violation of Title 21 United States Code, Section 846. On December 5, 2007,

Defendant Dennis was arraigned and entered a plea of not guilty before Magistrate Judge James

S. Gallas. On June 19, 2008, Magistrate Judge Kenneth S. McHargh received Defendant

Dennis’ plea of guilty to count 3 of the Superseding Indictment and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of
Case: 5:07-cr-00409-SO Doc #: 280 Filed: 09/08/08 2 of 2. PageID #: 1213




guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Dennis is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Dennis is adjudged guilty to Count 3 of the Superseding

Indictment, in violation of Title 21 United States Code, Section 846. Sentencing will be on

September 23, 2008, at 9:30 a.m. in Courtroom 17-A, Carl B. Stokes United States Court House,

801 West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
